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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                 .........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                    15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                 DEFENDANT’S RESPONSE IN OPPOSITION TO
            MOTION TO EXCEED PRESUMPTIVE TEN DEPOSITION LIMIT




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        Defendant Ghislaine Maxwell (“Ms. Maxwell”) files this Response in Opposition to

Plaintiff’s Motion to Exceed Presumptive Ten Deposition Limit, and states as follows:


                                          INTRODUCTION

        Despite having taken only three depositions to date, Plaintiff prematurely requests

permission to exceed the presumptive ten deposition limit imposed by Fed. R. Civ. P.

30(a)(2)(A)(i) and to conduct 17 separate depositions, almost twice the limit. Without legal

support, Plaintiff attempts to conflate the presumptive time limitation for each deposition of

seven hours with a right to take a total of 70 hours of depositions. This is an absurd reading of

the Federal Rules. The presumptive ten deposition limitation is an independent limitation, and

speaks to the number of separate deponents, not deposition time. Indeed, the two independent

limitations do not even appear in the same section of the rules.

        The heart of Plaintiff’s argument is that Ms. Maxwell inconveniently testified and denied

Plaintiff’s claims, rather than invoking the Fifth Amendment. This dashed Plaintiff’s apparent

hope to obtain an adverse inference, rather than actually having to prove her case against Ms.

Maxwell. Instead, Ms. Maxwell fully testified for the entire 7 hours, responded to all questions

posed to her,1 and testified based on her actual knowledge. Ms. Maxwell’s testimony simply

bears no relevance to Plaintiff’s request to take more than 10 depositions of non-party witnesses.

        Conspicuously absent from Plaintiff’s motion are (a) any actual information she believes

these witnesses may provide which is neither cumulative nor duplicative of other information

already disclosed in this case, (b) the fact the information can be obtained from other sources,


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  Plaintiff flatly mis-represents to the Court that Ms. Maxwell “refused” to answer the questions posed to
her, as the actual transcript amply demonstrates. Ms. Maxwell did not avoid any questions and answered
all questions to the best of her recollection relating to alleged events 15 years ago. The majority of the
bullet point “summary” of the matters about which Ms. Maxwell could not testify were based either on a
lack of any personal knowledge or the fact that the events claimed by Plaintiff did not actually happen.
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and (c) facts demonstrating that the burden and expense of the discovery is justified by the needs

of this case. Indeed, she has not established that the testimony is even relevant to the actual

issues in this matter. Plaintiff’s inability to establish these factors requires denial of the motion.


I.     PLAINTIFF’S REQUEST IS PREMATURE

       First, the request to exceed the presumptive ten-deposition limit is premature. “[C]ourts

generally will not grant leave to expand the number of depositions until the moving party has

exhausted the ten depositions permitted as of right under Rule 30(a)(2)(A) or the number

stipulated to by the opposing party.” Gen. Elec. Co. v. Indem. Ins. Co. of N. Am., No. 3:06-CV-

232 (CFD), 2006 WL 1525970, at *2 (D. Conn. May 25, 2006).

       This guideline makes sense because a “moving party must not only justify those

depositions it wishes to take, but also the depositions it has already taken.” Id. (citing Barrow v.

Greenville Indep. Sch. Dist., 202 F.R.D. 480, 482 (N.D.Tex. 2001)). This rule is in place because

“a party could indirectly circumvent the cap on depositions by exhausting the maximum allotted

number to those that she could not justify under the Rule 26(b)(2) standards, and then seek[ ]

leave to exceed the limit in order to take depositions that she could substantiate.” Id. at 483.

       Here, Plaintiff seeks a pre-emptive determination that she should be permitted 17

depositions, almost twice the presumptive limit, yet her proposed depositions are not calculated

to lead to admissible evidence in this case. By way of example, Plaintiff identifies Nadia

Marcinkova, Sarah Kellen (a/k/a Sarah Kensignton or Sarah Vickers), and Jeffrey Epstein as

alleged “co-conspirators” with each other. She requests the depositions of each. Plaintiff

anticipates each will invoke the Fifth Amendment – in other words, she will not obtain any

discoverable information from them.




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        Plaintiff makes a bizarre argument that somehow this testimony can be used to create an

adverse inference against Ms. Maxwell,2 despite the fact that Ms. Maxwell did not invoke the

Fifth Amendment and she testified fully and answered every question posed to her with the only

exception the irrelevant and harassing questions Plaintiff posed to her concerning her adult,

consensual sexual activities. In other words, depositions of Marcincova, Kellen and Epstein

would serve Plaintiff’s goal to make a convoluted legal argument, not to actually seek

discoverable information. In light of this, the “burden or expense of the proposed discovery

outweighs its likely benefit, considering the needs of the case, the parties' resources, the

importance of the issues at stake in the action, and the importance of the discovery in resolving

the issues.” Atkinson v. Goord, No. 01 CIV. 0761 LAKHBP, 2009 WL 890682, at *1 (S.D.N.Y.

Apr. 2, 2009); Fed. R. Civ. P. 26(b)(1). If Plaintiff chooses to use her depositions in this manner,

she risks utilizing three of her available 10 depositions for an illegitimate purpose. She should

not be rewarded with a pre-emptive carte blanche in advance to take additional depositions.


II.     THE PROPOSED DEPOSITIONS ARE CUMULATIVE, DUPLICATIVE, AND
        NOT RELEVANT TO THE CENTRAL ISSUES OF THE DISPUTE

        Plaintiff has not met the requisite showing to permit in excess of 10 depositions. In

Sigala v. Spikouris, 00 CV 0983(ILG), 2002 WL 721078 at *3 (E.D.N.Y. Mar. 7, 2002), the

Court set forth the general principles relevant to a party's application to conduct more than ten

depositions:


2
  Invocation of the Fifth Amendment by a third party witness cannot be used to create an adverse
inference against a party in a civil action. See United States v. Dist. Council of New York City & Vicinity
of United Bhd. of Carpenters & Joiners of Am., No. 90 CIV. 5722 (CSH), 1993 WL 159959, at *5
(S.D.N.Y. May 12, 1993) (“the general rule [is] that an individual's claim of Fifth Amendment protection
is personal, and does not give rise to adverse inferences against others.”); Brenner v. World Boxing
Council, 675 F.2d 445, 454 n. 7 (2d Cir.), cert denied, 459 U.S. 835 (1982) (“Furthermore, since King
was a non-party witness, no adverse inference against appellees could have been drawn from his refusal
to testify.”).
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         The Federal Rules presumptively limit the number of depositions that each side
         may conduct to ten. See Fed.R.Civ.P. 30(a)(2) (A) (“A party must obtain leave of
         court, which shall be granted to the extent consistent with the principles stated in
         Rule 26(b)(2), if ... a proposed deposition would result in more than ten
         depositions being taken ....”); accord Universal City Studios v. Reimerdes,104
         F.Supp.2d 334, 342 (S.D.N.Y.2000); Landry v. St. James Parish Sch. Bd., No.
         Civ. A 99-1438, 2000 WL 1741886, at *2 (E.D.La. Nov. 22, 2000). The purpose
         of Rule 30(a)(2)(A) is to “enable courts to maintain a ‘tighter rein’ on the extent
         of discovery and to minimize the potential cost of ‘[w]ide-ranging discovery’ . . .
         .” Whittingham v. Amherst Coll., 163 F.R.D. 170, 171-72 (D.Mass.1995) (citation
         omitted). Accordingly, “[t]he mere fact that many individuals may have
         discoverable information does not necessarily entitle a party to depose each such
         individual.” Dixon v. Certainteed Corp., 164 F.R.D. 685, 692 (D.Kan.1996).

         “The factors relevant to determining whether a party should be entitled to more than ten

depositions are now set forth in Fed.R.Civ.P. 26(b)(2)(C)3 and include whether (1) the discovery

sought is unreasonably cumulative or duplicative or can be obtained from some other source that

is more convenient, less burdensome, or less extensive, (2) the party seeking discovery has had

ample opportunity to obtain the information by discovery in the action, and (3) the burden or

expense of the proposed discovery outweighs its likely benefit, considering the needs of the case,

the parties' resources, the importance of the issues at stake in the action, and the importance of

the discovery in resolving the issues.” Atkinson, 2009 WL 890682, at *1 (S.D.N.Y. Apr. 2, 2009)

(internal quotations omitted).




3
  Rule 26(b)(1) has since been modified to read “(i) the discovery sought is unreasonably cumulative or duplicative,
or can be obtained from some other source that is more convenient, less burdensome, or less expensive; (ii) the party
seeking discovery has had ample opportunity to obtain the information by discovery in the action; or (iii) the
proposed discovery is outside the scope permitted by Rule 26(b)(1).” The scope of discovery permitted by 26(b)(1)
is “non-privileged matter that is relevant to any party's claim or defense and proportional to the needs of the case,
considering the importance of the issues at stake in the action, the amount in controversy, the parties’ relative access
to relevant information, the parties’ resources, the importance of the discovery in resolving the issues, and whether
the burden or expense of the proposed discovery outweighs its likely benefit.” Thus, the factors to be considered
have simply been moved to a new number with cross reference.



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         Weighing these factors, there is no basis for permitting more than the presumptive ten

deposition limit. First, as highlighted by the motion, the information purportedly sought is

cumulative and duplicative. By way of example, Plaintiff has already deposed Johanna Sjoberg

(a former Epstein employee), Juan Alessi (a former Epstein employee), and David Rodgers4

(former Epstein Pilot). She further seeks to depose Maria Alessi and Jo Fontanella (former


                                                   -
Epstein household employees), as well as Jane Doe 2 and Emmy Taylor (identified as assistants

to Ms. Maxwell or Mr. Epstein). The information Plaintiff claims each of the witnesses may

have is identical to that of each other – what they observed while working for Epstein. Plaintiff

goes so far as to state that Maria Alessi’s deposition is expected to “corroborate” the

observations of her husband’s.

         Plaintiff admits that the purpose in seeking the additional depositions is “obtaining

witnesses, like Ms. Sjoberg, who can corroborate that [Plaintiff] is telling the truth.” Yet, Ms.

Sjoberg did not “corroborate that [Plaintiff] is telling the truth.” Instead, she testified that ■
                                                                                                 she

was hired as an adult by Jeffrey Epstein to provide professional massages, that Ms. Maxwell

never asked her for any type of sexual massage, that she never saw Plaintiff giving a massage to

Ms. Maxwell nor did she see Ms. Maxwell receive a massage from any underage girl, indeed, in

her 5 plus years working for Mr. Epstein, she never saw any person underage at his home.

Regardless, Plaintiff is looking in vain for more testimony of exactly the same character,

precisely the type of testimony the presumptive limit is intended to prevent.

         Similarly, the expected deposition testimony of former Palm Beach Detective Joe

Recarey and former Palm Beach Police Chief Michael Reiter are duplicative of each other.

4
 Mr. Rodgers deposition, held last Friday and requiring a separate trip to Florida for Colorado counsel after the
scheduled court hearing on Thursday, served simply to authenticate flight logs. There are far more convenient, less
burdensome, and less expensive methods by which such information could have been obtained, such as a verifying
affidavit, yet Plaintiff chose to unnecessarily burden counsel, the witness and counsel for the witness with a 3 hour
deposition to accomplish the same end.

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Putting aside the admissibility of this testimony, it appears that both men were involved in the

investigation of Mr. Epstein and are expected to testify about their investigation. Plaintiff’s

allegations were not a part of their investigation, which took place years after Plaintiff left the

country. Moreover, their investigation did not involve Ms. Maxwell. Again, such duplicative

and irrelevant deposition testimony speaks to the intended purpose of the ten-deposition limit,

not a reason to exceed that limit.

        The same holds true for Nadia Marcinkova, Sarah Kellen (a/k/a Sarah Kensignton or

Sarah Vickers) and Jeffrey Epstein, each of whom Plaintiff anticipates will not respond to

questions and invoke their Fifth Amendment right. As discussed above, such invocation has no

bearing on the issues in this matter. Moreover, it is obviously cumulative and duplicative.

        Plaintiff also identifies Rinaldo Rizzo and Jean Luc Brunel but fails to provide any

information from which Ms. Maxwell or the Court could identify the subject matter of their

expected testimony. Thus, it is unclear how these individuals have information that differs from

or would add to the other proposed deponents. It is the Plaintiff’s burden to explain to the Court

why these depositions should be permitted if they exceed the presumptive limit, why the

information would not be cumulative, and its relevance to the important issues in the action, or

the importance of the discovery in resolving those issues. She simply fails to provide any

information by which the Court can assess these factors, and thus should not be permitted to

exceed the deposition limit based on her proffer.


III.    THE TESTIMONY SOUGHT IS IRRELEVANT TO THIS SINGLE COUNT
        DEFAMATION CASE

        This case is a simple defamation case. Plaintiff, through her counsel, filed a pleading

making certain claims regarding “Jane Doe No. #3” – the Plaintiff – and her alleged


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“circumstances.” See Complaint. Ms. Maxwell denied the allegations made stating they were

“untrue” and “obvious lies.” Plaintiff claims these statements are defamatory because she has

been called a “liar.”

         “A public figure claiming defamation under New York law must establish that ‘the

statements ... complain[ed] of were (1) of and concerning [the plaintiff], (2) likely to be

understood as defamatory by the ordinary person, (3) false, and (4) published with actual

malice.’” Biro v. Conde Nast, 963 F. Supp. 2d 255, 276 (S.D.N.Y. 2013), aff'd, 807 F.3d 541

(2d Cir. 2015), and aff'd, 622 F. App'x 67 (2d Cir. 2015).

         If Ms. Maxwell’s statements are essentially true – Plaintiff lied – Plaintiff cannot

establish her claim, and it is an absolute defense.5 Further, if Plaintiff cannot prove actual malice

by Ms. Maxwell, her claim fails. See Contemporary Mission, Inc. v. New York Times Co., 842

F.2d 612, 621 (2d Cir. 1988) (limited purpose public figure must establish by clear and

convincing evidence that the defendant published the alleged defamatory statement with actual

malice, “that is, with knowledge that it was false or with reckless disregard of whether it was

false or not”) (quoting New York Times, 376 U.S. 241, 280 (1964)). That is, Plaintiff must prove

that Ms. Maxwell permitted the publication of the statement knowing it to be untrue.

         None of the witnesses identified are listed as having discoverable information regarding

any of the elements of this claim. None is claimed to have direct knowledge to confirm the truth

of Plaintiff’s claims about what happened to her, that the acts she claims she participated in

5
  There is only one public statement that existed on January 2, 2015 to which Ms. Maxwell was responding in the
statement by her press agent. The document is the Joinder Motion filed in the Crime Victims’ Rights Act case on
behalf of Plaintiff by her attorneys, Bradley Edwards and Paul Cassell. Menninger Decl., Ex. A, p. 4. The very first
line describing Jane Doe #3 Circumstances is false, as Plaintiff now concedes. It read: “In 1999, Jane Doe #3 was
approached by Ghislaine Maxwell,” and continuing that “Maxwell persuaded Jane Doe # 3 (who was only fifteen
years old) to come to Epstein's mansion . . .” Plaintiff now concedes that she did not meet Ms. Maxwell or Mr.
Epstein in 1999, and she was not 15 years old. Menninger Decl., Ex. A at 26-29. No amount of “circumstantial
evidence” can overcome the fact that Ms. Maxwell’s statement was correct and that statements in the Joinder
Motion were untrue.

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occurred or that they occurred with the people she claims to have been involved. Rather, each

witness identified as being able to provide their observations regarding “other” allegedly

underage girls, their own personal experience,6 or beliefs about Plaintiff’s credibility. None of

this is relevant. This is not a case about Jeffery Epstein or the alleged “modus operandi of the

Epstein organization.” This is a simple case of if Ms. Maxwell’s denial of the allegations made

by Plaintiff about Plaintiff’s own interactions with Maxwell was defamatory, and if Ms. Maxwell

acted with actual malice in issuing the denial. Plaintiff’s attempt to amplify this proceeding into

something broader should not be condoned.

         Because the evidence sought is nothing more than extraneous inadmissible

“circumstantial evidence”7 irrelevant to proving the essential elements of the claim, “the burden

or expense of the proposed discovery outweighs its likely benefit, considering the needs of the

case, the parties' resources, the importance of the issues at stake in the action, and the importance

of the discovery in resolving the issues.” Atkinson, 2009 WL 890682, at *1. As such, the

request for the additional depositions should be denied.

         WHEREFORE, Ms. Maxwell requests that the Motion to permit in excess of the

presumptive ten deposition limit be denied; alternatively, if in excess of ten depositions are

permitted, Ms. Maxwell requests that Plaintiff be required to pay all costs and attorney’s fees

6
  The information sought is also inadmissible. Plaintiff seeks testimony from witness who she claims will testify to
experience similar to her stories and this will “corroborate Ms. Giuffre's account description of the motive, way in
which Epstein and his co-conspirators created opportunity, intent, plan, knowledge, and to the specifics that make up
the criminal signature of Epstein and his co-conspirators.” Motion at 15-16. Such evidence is prohibited by
FRE 404(b), which states “Evidence of a crime, wrong, or other act is not admissible to prove a person’s
character in order to show that on a particular occasion the person acted in accordance with the character.”
Furthermore, no other witness has claimed as Plaintiff does that Ghislaine Maxwell sexually abused them, sexually
trafficked them, or that she partook in daily sex with any underage girls. Plaintiff’s claim stands in isolation because
it is fictional.
7
  This “circumstantial evidence” has no bearing on the truthfulness of the stories published by Plaintiff. It is equally
likely to show that Plaintiff became aware of the allegations of others and decided to hop on the band wagon. She
then made up similar claims for the purpose of getting paid hundreds of thousands of dollars by the media for
publicizing her allegations and identifying well know public figures whose names she has seen documents that she
reviewed or other stories she had read.

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associated with attending any deposition occurring outside 100 miles of the Courthouse for the

Southern District of New York pursuant to S.D.N.Y L.Civ.R. 30.1.

       Dated: June 6, 2016.



                                                Respectfully submitted,



                                                /s/ Laura A. Menninger
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                                CERTIFICATE OF SERVICE

I certify that on June 6, 2016, I electronically served this Defendant’s Response in Opposition to
Motion to Exceed Presumptive Ten Deposition Limit via ECF on the following:

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